
6 So.3d 1271 (2009)
Natavious WILLIAMS, Appellant,
v.
STATE of Florida, Appellee.
No. 5D07-3899.
District Court of Appeal of Florida, Fifth District.
April 7, 2009.
James S. Purdy, Public Defender, and Brynn Newton, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Rebecca Rock McGuigan, Assistant Attorney General, Daytona Beach, for Appellee.
*1272 PER CURIAM.
AFFIRMED. United States v. Arias, 984 F.2d 1139 (11th Cir.1993).
ORFINGER, MONACO and TORPY, JJ., concur.
